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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

IN RE:                                                                CASE: 13-30277-TBM
MATTHEW R DOLLOFF                                                     CHAPTER 13

               DEBTOR


WITHDRAWAL OF CHAPTER 13 TRUSTEE'S MOTION TO DISMISS DUE TO FAILURE TO
                        MAKE PLAN PAYMENTS


       The Standing Chapter 13 Trustee hereby withdraws his Chapter 13 Trustee's Motion to Dismiss
due to Failure to Make Plan Payments in the above captioned proceeding because:

       Motion to Dismiss filed 5/23/18 (Doc 102) is being withdrawn. Debtor is substantially current.

       June 19, 2018                                Respectfully submitted,


                                                    /s/ Karen G. Perse
                                                    Karen G. Perse, #17886
                                                    Attorney for the Chapter 13 Trustee
                                                    Douglas B. Kiel
                                                    4725 S MONACO STREET, SUITE 120
                                                    DENVER, CO 80237
                                                    (720)398-4444
                                                    kperse@denver13.com

                                      CERTIFICATE OF MAILING
       I hereby certify that a true and correct copy of the above Chapter 13 Trustee's Withdrawal of
Chapter 13 Trustee's Motion to Dismiss due to Failure to Make Plan Payments was placed in the U. S.
Mail, postage prepaid, on June 19, 2018 addressed as follows:

MATTHEW R DOLLOFF
2991 ROCK CIRCLE
ELIZABETH, CO 80107

Notice by Electronic Transmission was sent to the following persons/parties:
WATTON LAW GROUP



/s/ Janice LeGros
for Douglas B. Kiel
